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                    EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

EMMA SCHMIDT and HALLIE MEYER                                 CIVIL ACTION NO.
              Plaintiffs,                                     3: 14-CV-01816 (SRU)




v.

CONAGRA FOODS, INC
              Defendant                                       MAY 5, 2016


                AFFIDAVIT OF ATTEMPT TO RESOLVE DIFFERENCES

        Pursuant to F.R.C.P. Rule 37, the undersigned files this affidavit with the court stating

that:

        1. I am over the age of 18 and believe in the sanctity of an oath;

        2. I make this affidavit upon my own personal knowledge, information and belief;

        3. I am counsel for the plaintiffs in the above entitled matter;

        4. On July 31, 2015, Plaintiffs filed their First Set of Interrogatories and Requests for
           Production with Defendant.

        5. On August 14, 2015, Plaintiffs filed their Requests for Admission with Defendant.

        6. On September 29, 2015, Defendant filed its objections to Plaintiffs' First Set of
           Interrogatories and Requests for Production and its objections and responses to
           Plaintiffs' Requests for Admission, See Exhibit 1.

        7. On October 20, 2015, plaintiffs' counsel, Kathleen Nastri, contacted defense counsel,
           Kristen Connors, via email to schedule a Rule 37 conference call in a good faith
           attempt to resolve the aforementioned objections to discovery.

        8. The Rule 37 conference call between parties was completed on November 16, 2015.

        9. During that call, Plaintiffs' counsel agreed with defense counsel to substantially
           revise their initial discovery requests, with the understanding that Defendant would
           then answer most, if not all, of the discovery.

        10. On December 23, 2015, Plaintiffs filed Plaintiffs' Revised Set of Interrogatories and
            Requests for Production and Plaintiffs' Revised Requests for Admission.
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      11. On January 21, 2016, Defendant filed its objections and responses to Plaintiffs'
          Revised Set of Interrogatories and Requests for Production and Plaintiffs' Revised
          Requests for Admission with Defendant, ConAgra, Inc. In addition to "General
          Objections" to all interrogatories, Defendant posed specific objections to 22
          interrogatories and 10 requests for production, See Exhibit 2.

      12. On January 21, 2016, plaintiffs' counsel, Kathleen Nastri, contacted defense counsel,
          Kristen Connors, via email that Plaintiffs' would be seeking resolution with the court
          to which defense counsel responded that, "We ask that you wait to see the responses
          and document production before seeking to argue the objections. ConAgra intends to
          produce documents and answer most if not all of the requests for admission and
          interrogatories over the objections. While in many instances ConAgra is not able to
          agree with the wording of the various requests, for the most part we believe that we
          have an understanding of what is sought and intend to provide it. There may be a just
          a few items that will need to be brought to the court's attention, but I expect the
          responses and document production to alleviate most, if not all, of your concerns",
          See Exhibit 3.


      13. On April 6, 2016, Defendant filed its Objections and Responses to Plaintiffs' Revised
          Set of Interrogatories and Requests for Production and Plaintiffs' Revised Requests
          for Admission, See Exhibit 4.


      14. On April 21, 2016, plaintiffs' counsel, Kathleen Nastri, responded to Defendant's
          Objections and Responses to Plaintiffs' Revised Set of Interrogatories and Requests
          for Production and Plaintiffs' Revised Requests for Admission via letter dated April
          21, 2016 stating that a motion would be filed with the court in 10 days if said
          objections were not resolved, See Exhibit 5.




STATE OF CONNECTICUT                )      SS.     Bridgeport
COUNTY OF FAIRFIELD                 )

      Personally appeared, KATHLEEN NASTRI, Signer and Sealer of the foregoing and
acknowledged the same to be her free act and deed, ~---------------


               Morllyn Wey                         ~RILY         EY
        Notary Public-Connecticut                  Notary Public
          My Commission Expires
              June ~o. 2.01 a                      My Commission Expires: 6/30/2018
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                    EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


EMMA SCHMIDT and HALLIE MEYER                                CIVIL ACTION NO.
              Plaintiffs,                                    3:14-CV-01816 (SRU)




v.
CONAGRA FOODS, INC
             Defendant                                       SEPTEMBER 29, 2015

                    OBJECTIONS TO PLAINTIFFS' FIRST SET OF
                 INTERROGATORIES AND PRODUCTION REQUESTS


                                PRELIMINARY STATEMENT

        Defendant ConAgra Foods, Inc. ("ConAgra") has not yet completed its investigation of
the facts relating to this action, has not completed discovery and has not completed its
preparation for trial. Thus, ConAgra reserves the right to amend or supplement its responses to
these interrogatories and request for production if and when additional infonnation is obtained.
These responses are made without a waiver of, and with preservation of:

        1.     All questions as to competency, relevancy, materiality, privilege, and
admissibility of the responses and subject matter thereof as evidence for any purpose in any
further proceedings in this action or in any other action;

       2.      The right to use of any such responses, or the subject matter thereof, on any
ground in any further proceedings of this action or in any other action;

       3.     The right at any time to revise, amend, correct, supplement, or clarify any of the
responses contained herein; and

       4.     The right to assert additional privileges if warranted by new documents or
infonnation discovered at a later date.




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                                    GENERAL OBJECTIONS

        The following Objections shall be deemed incorporated into the objections and responses
to each and every Interrogatory and Request for Production (hereinafter collectively "Discovery
Request(s)"):

        1.     ConAgra objects to the Discovery Requests to the extent they are premature and
unfairly prejudicial. Because all the information and documents that are possibly within the
scope of the Discovery Requests may not yet have been located and identified, ConAgra's
response to the Discovery Requests are based upon information available and reviewed to date.
ConAgra reserves the right to subsequently assert additional objections to the Discovery
Requests and to modify and supplement its responses, in whole or in part, without prejudice.

         2.     ConAgra objects to the Discovery Requests to the extent they seek information
that is protected from discovery and disclosure by the attorney-client privilege, the attorney work
product doctrine, the settlement/mediation privilege, the joint defense or common interest
doctrines, or by any other applicable privilege(s) or immunity. ConAgra intends to and hereby
does invoke these privileges and immunities with respect to all protected information. Should
ConAgra provide any privileged or protected information in responding to the Discovery
Requests, unless stated otherwise, such disclosure is inadvertent and shall not constitute a waiver
of any applicable privilege or immunity or of any other ground for objecting to discovery with
respect to such information, or of ConAgra's right to object to the use of such information.

       3.     ConAgra objects to the Discovery Requests to the extent that they are overly
broad, unduly burdensome, and unlimited in time and scope.

        4.     ConAgra objects to the Discovery Requests to the extent that they call upon
ConAgra to investigate, collect, and disclose information and/or documents and things which are
neither relevant to the subject matter of this action nor reasonably calculated to lead to the
discovery of admissible evidence.

        5.       ConAgra objects to the Discovery Requests to the extent that they seek trade
secrets or other confidential or proprietary research, development, commercial, or business
information. ConAgra will produce such information, if requested and not otherwise
objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.

       6.      ConAgra objects to the Discovery Requests to the extent the information sought is
a matter of public record, is publicly available or equally available to the propounding party, or is
obtainable from some other source that is more convenient, less burdensome, or less
expensive. The parties bear an equal burden in discovery.

       7.     ConAgra objects to the Discovery Requests to the extent that they seek
information concerning ConAgra products not relevant to this litigation.


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        8.      ConAgra objects to the Discovery Requests to the extent that they purport to
create obligations that exceed the requirements of the Federal Rules of Civil Procedure or the
Local Rules of the court.

        9.       ConAgra objects to the Discovery Requests to the extent that Plaintiff seeks to
require ConAgra to provide information beyond what is reasonably available to ConAgra at
present after a reasonable search of ConAgra's files and reasonable inquiry of ConAgra's present
employees. Likewise, ConAgra objects to any Discovery Requests that seeks to impose a duty on
ConAgra to create analyses that ConAgra does not create or maintain in the ordinary course of
business. In responding to the Discovery Requests, ConAgra conducted a diligent search,
reasonable in scope, of those documents or information responsive to the Discovery Requests
and solicited information from those individuals employed or otherwise affiliated with ConAgra
believed to be most likely to have information responsive to the Discovery Requests. ConAgra
has not, however, undertaken to search or review all of the files and records in ConAgra's
possession, custody, or control, nor has ConAgra solicited information from every individual
employed by or otherwise affiliated with ConAgra, because to do so would be unduly
burdensome and expensive. In the event, therefore, that additional information, documents,
records, or files responsive to any of the Discovery Requests are subsequently identified or
brought to ConAgra's attention, ConAgra reserves the right to amend or supplement its
responses.

         10.    In responding to the Discovery Requests, ConAgra does not concede that any
Discovery Request to which it responds is relevant to the subject matter of this litigation or
reasonably calculated to lead to the discovery of admissible evidence. ConAgra expressly
reserves both the right to object to further discovery into the subject matter of these Discovery
Requests and the right to object to the introduction into evidence of responses to these Discovery
Requests. ConAgra also reserves the right to object to any effort to compel responses beyond
those provided herein. ConAgra also reserves the right to question the authenticity, relevancy,
materiality, privilege, and admissibility as evidence for any purpose of the information provided
in the documents identified and/or produced in response to these Discovery Requests, which may
arise in any subsequent proceeding in, or the trial of, this or any other action.

        11.     These Objections apply to all of ConAgra's responses. To the extent that
Objections are repeated in a specific response, those specific citations are provided because they
are believed to be particularly applicable to the specific Discovery Requests and are not to be
construed as a waiver of any other Objection applicable to information falling within the scope
of the Discovery Requests.

         12.   The following responses reflect ConAgra's present knowledge, information, and
belief, and may be subject to change or modification based on ConAgra's further discovery or on
facts or circumstances that may come to ConAgra's knowledge. ConAgra will supplement its
responses as required under the Federal Rules of Civil Procedure.




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        13.     ConAgra objects to the Discovery Requests in that they are all vague and
ambiguous Plaintiffs failed to provide a lot, batch or serial number for the PAM Cooking Spray
canister at issue.

         14.    ConAgra objects to the Discovery Requests as generally vague and ambiguous.
Each interrogatory necessarily requires interpretation by ConAgra. ConAgra's interpretation of
the interrogatory, in some or in all cases, may be different from what was intended by the
plaintiffs.

       15.     ConAgra objects to these Discovery Requests to the extent that they are
premature, call for a legal conclusion, or seek information or documents containing legal
opinions, mental impressions, or theories of counsel.




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                           OBJECTIONS TO INTERROGATORIES

        1.       Please state the name and address of the person(s) preparing the answers to these

interrogatories and identify any person(s) aiding in the preparation.

OBJECTION:

        ConAgra objects to this interrogatory in that it seeks the disclosure of information
        protected by the attorney-client privilege and work product doctrine.


       2.     Give the name and addresses of persons known to the Defendant or counsel to be
witnesses concerning the facts of the case, indicate whether or not written or recorded statements
have been taken from the witnesses, and indicate who has possession of such statements.

OBJECTION:

        ConAgra objects to this interrogatory as overly broad, vague and ambiguous as to what
        constitutes the "facts" of this case. ConAgra further objects to this interrogatory insofar
        as it requests information protected by the attorney/client privilege, attorney work
        product protection or any other similar privilege and/or protection. ConAgra further
        objects to this interrogatory in that it seeks information that is equally available to, or in
        the possession of, the plaintiffs.



        3.       For each person known to the parties or counsel to be a witness concerning the
facts of this case, set forth either a summary sufficient to inform the other party of the important
facts known to or observed by such witness, or provide a copy of any written or recorded
statements taken from such witnesses.

OBJECTION:

        ConAgra objects to this interrogatory in that it is overly broad and unduly burdensome.
        ConAgra further objects to this interrogatory as overly broad, vague and ambiguous as to
        what constitutes the "facts" of this case. ConAgra further objects to this interrogatory
        insofar as it requests information protected by the attorney/client privilege, attorney work
        product protection or any other similar privilege and/or protection. ConAgra further
        objects to this interrogatory in that it seeks information that is equally available to, or in
        the possession of, the plaintiffs.

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       4.      Set forth a list of photographs, sketches or other prepared documents in
possession of the Defendant that relates to the claim or the defense in this case.

OBJECTION:

        ConAgra objects to this interrogatory in that it is overly broad, unduly burdensome, and
        seeks information that is not reasonably calculated to lead to admissible evidence.
        ConAgra further objects to this interrogatory insofar as it requests information protected
        by the attorney/client privilege, attorney work product protection or any other similar
        privilege and/or protection. ConAgra further objects to this interrogatory to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.




        5.      Does this Defendant have a liability insurance company or carrier that protects it
against any portion of the incident or occurrence which is stated in the complaint? If so, provide
the names of all insurance carriers including any excess or umbrella carriers and the liability
limits of such policies.

OBJECTION:

        ConAgra objects to this request in that it is overly broad, unduly burdensome, and seeks
        information that is not reasonably calculated to lead to the discovery of admissible
        evidence.




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       6.       State whether this Defendant or any of its agents, servants, employees or other
representatives have made any visits to the scene of the incident made the basis of this lawsuit at
any time after the subject incident. If so, please state for each such visit:
       a. The date of the visit;
       b. The name, address and job title of the person(s) who made such visit;
       c. Attach true and complete copies of any and all written or printed documentation
       whatsoever which relate to such visit.

OBJECTION:

        ConAgra objects to this interrogatory insofar as it requests information protected by the
        attorney/client privilege, attorney work product protection or any other similar privilege
        and/or protection. ConAgra further objects to this interrogatory in that the information it
        seeks that is not protected by a privilege or the work product doctrine is equally available
        to the plaintiffs.



7. Has this Defendant ever been sued for products liability pertaining to an explosion, venting
canister or fires caused by PAM canisters? If so, state when and where such suit was filed.

OBJECTION:

        ConAgra objects to this interrogatory on the grounds that it seeks irrelevant information
        that is not reasonably calculated to lead to the discovery of admissible evidence.
        ConAgra further objects to this interrogatory to the extent it presumes facts which have
        not been established.



8.     State the name, address and job title of the corporation, person(s) and/or employee(s) of
this Defendant who are most knowledgeable with regard to the design and manufacture of the
PAM canister involved in the incident which is the subject of this lawsuit.

OBJECTION:

        ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its use
        of the term "most knowledgeable" and the phrase "the PAM canister involved in the
        incident," because, inter alia, there were several containers of PAM present in the
        plaintiffs' kitchen. ConAgra further objects to this request in that it assumes facts that
        have not been established.

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9. Please state the name, address and title of each and every individual and/or engineer who was
responsible for the design, evaluation and testing and safety analysis of PAM canister involved
in this incident or any similar canister and/or any predecessor designs of canisters for PAM.

OBJECTION:

        ConAgra objects to this interrogatory in that it is overly broad, unduly burdensome, and
        seeks information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory in that it is vague and ambiguous
        with regard to its reference to whom was "responsible," the term "PAM canister," and the
        phrases "the design, evaluation and testing and safety analysis of PAM canister involved
        in this incident," and "or any similar canister and/or any predecessor designs of canisters
        for PAM." ConAgra further objects to this interrogatory to the extent it seeks
        information that is not within ConAgra's possession, custody, or control.



10.     Please describe all testing and/or research did ConAgra perform to ensure that the DOT-
2Q vented container would be suitable and safe for PAM, including the persons who performed
this research/testing. If some other person or entity other than ConAgra performed such
research/testing, please identify that person/entity.


OBJECTION:

        ConAgra objects to this interrogatory in that its reference to "the DOT-2Q vented
        container" is vague and ambiguous because it does not identify a particular container.
        ConAgra further objects to this interrogatory in that the phrase "suitable and safe" is
        vague and ambiguous. ConAgra further objects to this interrogatory because it is overly
        broad and unduly burdensome in that there are more efficient means of obtaining the
        information sought such as witness testimony and/or document production. ConAgra
        further objects to this interrogatory to the extent it seeks information that is equally
        available to the plaintiffs. ConAgra further objects to this interrogatory to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.




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11.    If the defendant claims that the DOT-2Q vented container is safe and suitable for PAM
and consumers, please state the scientific basis for that determination.

OBJECTION:

        ConAgra objects to this interrogatory in that its reference to "the DOT-2Q vented
        container" (which does not identify a particular container), the term "scientific basis,"
        and the phrase "safe and suitable" are vague and ambiguous. ConAgra further objects to
        this interrogatory because it is overly broad and unduly burdensome in that there are far
        more efficient means of obtaining the information sought such as witness testimony and
        document production. ConAgra further objects to this interrogatory to the extent it seeks
        trade secrets or other confidential or proprietary research, development, commercial, or
        business information. ConAgra will produce such information, if not otherwise
        objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.



12. Please identify all internal standards ConAgra used to evaluate the safety of PAM canisters.

OBJECTION:

        ConAgra objects to this interrogatory in that it is vague and ambiguous in its use of the
        terms "internal standards" and "safety." ConAgra further objects to this interrogatory to
        the extent it seeks trade secrets or other confidential or proprietary research,
        development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.



13.     Describe the process by which ConAgra selected the DOT-2Q vented container for PAM,
including in your description whether ConAgra provided the manufacturer with specifications
for the container, and information regarding the container contents.

OBJECTION:

        ConAgra objects to this interrogatory in that its reference to "the DOT-2Q vented
        container" is vague and ambiguous because it does not identify a particular container.
        ConAgra further objects to this interrogatory because it is overly broad and unduly
        burdensome in that there are far more efficient means of obtaining the information sought
        such as witness testimony and document production. ConAgra further objects to this

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        interrogatory to the extent it seeks trade secrets or other confidential or proprietary
        research, development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.



14. For each affirmative defense raised in ConAgra's Answer, please state the factual basis for
the defense and identify all of the documents that support the defense and all persons who have
knowledge of the facts underlying the defense.

OBJECTION:

        ConAgra objects to this interrogatory insofar as it requests information protected by the
        attorney/client privilege, attorney work product protection or any other similar privilege
        and/or protection. ConAgra further objects to this interrogatory as is overly broad and
        unduly burdensome in that the information sought may be discovered by much more
        efficient means such as deposition and/or document production. ConAgra further objects
        to this interrogatory in that it calls for a legal conclusion. ConAgra further objects to this
        interrogatory to the extent it seeks information that is in the possession of or equally
        available to the plaintiffs. ConAgra further objects to this interrogatory to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.



15.    State the name, address and job title of the corporation, person(s) and/or employee(s) of
this Defendant who are most knowledgeable with regard to the incidence and/or frequency of
exploding or venting PAM canisters.


OBJECTION:

        ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its use
        of the terms "most knowledgeable," "incidence," and "frequency."




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16.      Has any ConAgra employee or anyone associated with ConAgra ever performed any
research and/or tests to determine the temperature at which a PAM canister will vent, burst, or
explode? If so, identify said person and produce all records and results of the research and/or
testing.

OBJECTION:

        ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its
        reference to "anyone associated with ConAgra," "any research and/or tests," "a PAM
        canister," and "the temperature." ConAgra further objects to this interrogatory in that it
        is overly broad and unduly burdensome. ConAgra further objects to this interrogatory to
        the extent it seeks information and documents that are not in ConAgra' s possession,
        custody, or control. ConAgra further objects to this interrogatory to the extent it seeks
        information protected by the attorney-client, work product, or any other privilege or
        protection. ConAgra further objects to this interrogatory to the extent it seeks trade
        secrets or other confidential or proprietary research, development, commercial, or
        business information. ConAgra will produce such information, if not otherwise
        objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.


17.     Was ConAgra aware of any research/testing performed by other people which determined
the temperature at which Pam will vent, burst, or explode? If so, identify and produce all records
of such research/testing.


OBJECTION:

        ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its
        reference to "any research/testing," "Pam," and "the temperature." ConAgra further
        objects to this interrogatory in that it is overly broad and unduly burdensome. ConAgra
        further objects to this interrogatory to the extent it seeks information and documents that
        are not in ConAgra's possession, custody, or control. ConAgra further objects to this
        interrogatory to the extent it seeks information protected by the attorney-client, work
        product, or any other privilege or protection. ConAgra further objects to this
        interrogatory to the extent it seeks trade secrets or other confidential or proprietary
        research, development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.




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18. Please when [sic.], where and by whom the PAM canisters located in the kitchen of the
Meyer home on May 13, 2013 were manufactured and filled with PAM.

OBJECTION:

        ConAgra objects to this interrogatory as premature because it has not yet received lot,
        batch and serial numbers for the PAM cooking spray canisters located in the Meyer
        kitchen on May 13, 2013. ConAgra reserves the right to supplement its response to this
        interrogatory when it is provided with the aforementioned information. ConAgra further
        objects to this interrogatory because it assumes facts that have not been established.



19. Why did ConAgra decide to use the 2Q vented container over the DOT-E or 2Q non-vented
container?

OBJECTION:

        ConAgra objects to this interrogatory because it is vague and ambiguous in its reference
        to "the 2Q vented container," "the DOT-E ... non-vented container," and "the 2Q non-
        vented container" as these terms do not identify particular containers. ConAgra further
        objects to this interrogatory to the extent it seeks trade secrets or other confidential or
        proprietary research, development, commercial, or business information. ConAgra will
        produce such information, if not otherwise objectionable, only pursuant to the restrictions
        of a Protective Order entered by the Court.



20.     In 2013, did ConAgra use different containers for different retail markets or geographic
locations, including Canada and if so, why?


OBJECTION:

        ConAgra objects to this interrogatory because it its reference to "containers" and "retail
        markets" is vague and ambiguous. ConAgra further objects to this interrogatory to the
        extent it seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.




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21.     When did ConAgra begin manufacturing Pam in the DOT-2Q vented containers; and
does it continue to do so

OBJECTION:

        ConAgra objects to this interrogatory because its reference to "the DOT-2Q vented
        containers" is vague and ambiguous because it does not identify a particular container.


22. If a DOT-2Q vented container vents, bursts or explodes below the DOT required minimum
pressure, without any external force or abuse applied, do you agree that the container failed to
meet DOT specifications? If no, please state the basis for disagreeing that the container failed to
meet DOT specifications? [sic]

OBJECTION:

        ConAgra objects to this interrogatory because its references to "a DOT-2Q vented
        container," "the DOT required minimum pressure," "external force or abuse," and "DOT
        specifications" are vague and ambiguous because, inter alia, they do not identify a
        particular container, do not identify particular regulations (specifications), and use
        terminology not found in the DOT regulations. ConAgra further objects to this
        interrogatory as it is an improper factual scenario interrogatory calling for ConAgra to
        answer a hypothetical question not tied to the established facts of this case, and further
        calling for a pure legal conclusion in determining the scope and application of
        Department of Transportation regulations. See Abbott v. United States, 177 F.R.D. 92,
        93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989).


23.    At what temperature would the contents of Pam exceed an equilibrium vapor pressure of
180-psig?

OBJECTION:

        ConAgra objects to this request because its references to "the contents of Pam" and "an
        equilibrium vapor pressure of 180-psig" are vague and ambiguous. ConAgra further
        objects to this interrogatory to the extent it seeks trade secrets or other confidential or
        proprietary research, development, commercial, or business information. ConAgra will
        produce such information, if not otherwise objectionable, only pursuant to the restrictions
        of a Protective Order entered by the Court.




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24.     What is the exact DOT code that authorizes the use of the DOT-2Q vented container?

OBJECTION:

        ConAgra objects to this interrogatory because its references to "DOT code" and "the
        DOT-2Q vented container" are vague and ambiguous. ConAgra further objects to this
        interrogatory in that it does not make sense, because Department of Transportation
        Regulations do not provide authorizations.


25.    Describe any testing and/or research that was done with respect to any "human factors"
involved in the foreseeable use and/or misuse of Pam.

OBJECTION:

        ConAgra objects to this interrogatory because its references to "any testing and/or
        research," "human factors," and "misuse of Pam" are vague and ambiguous. ConAgra
        further objects to this interrogatory in that it is overly broad, unduly burdensome, and
        seeks information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory to the extent it seeks disclosure
        of information not within ConAgra' s possession, custody, or control. ConAgra further
        objects to this request to the extent it seeks information protected by the attorney-client,
        work product, or any other privilege or protection. ConAgra further objects to this
        interrogatory to the extent it seeks trade secrets or other confidential or proprietary
        research, development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.




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                     OBJECTIONS TO REQUESTS FOR PRODUCTION



I. All statements, whether written, recorded or stored in some other fashion, of persons listed in
response to interrogatories 2 and 3.

OBJECTION:

        ConAgra incorporates its objections to interrogatories number 2 and 3 as if fully set forth
        herein.



2. All photographs, sketches or other prepared documents listed in response to interrogatory 4.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 4 as if fully set forth herein.



3. A copy of all declarations pages for insurance policies listed in response to interrogatory 5.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 5 as if fully set forth herein.



4. Documentation relating to site visits listed in response to interrogatory 6.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 6 as if fully set forth herein.




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5. Documents reflecting testing and test results described in response to interrogatories 10 and
11.



OBJECTION:

        ConAgra incorporates its objections to interrogatories number 10 and 11 as if fully set
        forth herein.



6. All communications between ConAgra and the manufacturer of the canister reflecting
specifications for the container, and information regarding the container contents.


OBJECTION:

        ConAgra objects to this request in that the terms "the canister" and " the container" are
        vague and ambiguous. ConAgra further objects to this request in that it is overly broad,
        unduly burdensome, and seeks information that is not reasonably calculated to lead to the
        discovery of admissible evidence. ConAgra further objects to this request to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.


7. ConAgra internal standards regarding PAM and PAM canisters as referred to in interrogatory
12.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 12 as if fully set forth
        herein.




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8. All documents referred to in response to interrogatory 14.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 14 as if fully set forth
        herein.



9. All documents regarding research/testing referred to in response to interrogatory 16 and 17.


OBJECTION:

        ConAgra incorporates its objections to interrogatories number 16 and 17 as if fully set
        forth herein.




10.    All documents regarding research/testing regarding human factors issues involved in the
use/misuse of PAM.

OBJECTION:

        ConAgra objects to this interrogatory because its references to "research/testing,"
        "human factors," and "misuse of Pam" are vague and ambiguous. ConAgra further
        objects to this interrogatory in that it is overly broad, unduly burdensome, and seeks
        information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory to the extent it seeks disclosure
        of information not within ConAgra's possession, custody, or control. ConAgra further
        objects to this request to the extent it seeks information protected by the attorney-client,
        work product, or any other privilege or protection.




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                                       Respectfully Submitted,

                                       THE DEFENDANT,
                                       CONAGRA FOODS, INC.



                                       By:_    '1f===:e
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                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing has been served via e-mail on the

above date to:

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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


EMMA SCHMIDT and HALLIE MEYER                                CIVIL ACTION NO.
              Plaintiffs,                                    3:14-CV-01816 (SRU)




v.

CONAGRA FOODS, INC.
              Defendant                                       SEPTEMBER 29, 2015

     DEFENDANT CONAGRA FOODS, INC.'S OBJECTIONS AND RESPONSES TO
                 PLAINTIFFS' REQUESTS FOR ADMISSION


1. Under 49 CFR Sec. 173.306 and 49 CFR Sec. 178.33a, the DOT regulates the specifications
   of the PAM container and the pressure of the contents therein.

OBJECTION:

        ConAgra objects to this request in that its reference to "the PAM container" is vague and
        ambiguous. ConAgra further objects to this request in that it is vague and ambiguous
        because Plaintiffs fail to specify when, where, and under what circumstances they allege
        the DOT regulations apply.


2. In 2014, PAM was packaged and sold to consumers in both DOT-2Q vented and DOT-2Q
   non-vented containers.

OBJECTION:

        ConAgra objects to this request in that its reference to "DOT-2Q vented and DOT-2Q
        non-vented containers" is vague and ambiguous as these descriptions do not identify
        particular containers or PAM products, of which there are many.




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3. Per DOT Regulations, the maximum 130°F equilibrium vapor pressure of the contents in the
   PAM DOT-2Q container must not exceed 180-psig.

OBJECTION:

         ConAgra objects to this request in that its reference to "DOT Regulations," and "the
         PAM DOT-2Q container" are vague and ambiguous because the request does not identify
         the "DOT Regulations" to which it refers and "the PAM DOT-2Q container" does not
         identify a particular container.


4. Per DOT specifications, the minimum deformation pressure of the PAM DOT-2Q container
   at issue must be no less than 180-psig.

OBJECTION:

         ConAgra objects to this request in that its references to "DOT specifications," and
         "minimum deformation pressure" are vague and ambiguous in that the request does not
         cite the DOT regulations (specifications) to which it refers and the term "minimum
         deformation pressure" is not used in the DOT regulations. ConAgra further objects to
         this request in that its reference to "the PAM DOT-2Q container at issue" is vague and
         ambiguous as the request does not identify a particular container.


5. In the absence of any external forces, a PAM canister that deforms or vents below a pressure
   of 180-psig does not meet DOT specifications.

OBJECTION:

        ConAgra objects to this request in that its reference to "DOT specifications" is vague and
        ambiguous in that the request does not cite the DOT regulations (specifications) to which
        it refers. ConAgra further objects to this request in that its references to "the absence of
        any external forces" and "deforms" are vague and ambiguous in that it does not define
        what an "external force" is and does not state whether the deformation is permanent or
        temporary. ConAgra further objects to this request in that it is vague and ambiguous
        because Plaintiffs fail to specify when, where, and under what circumstances they allege
        the DOT specifications apply. ConAgra further objects to this request as it is an improper
        factual scenario request calling for ConAgra to answer a hypothetical question not tied to
        the facts of this case, and further calling for a pure legal conclusion in determining the
        scope and application of Department of Transportation regulations. See Abbott v. United
        States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125 F.R.D.
        1, 3 (D.D.C. 1989).



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6. Unintentional heating of a PAM canister during its intended or foreseeable use could result in
   the product venting.

OBJECTION:

         ConAgra objects to this request in that it is vague and ambiguous in its use of the phrase
         "unintentional heating." ConAgra further objects to this request to the extent it assumes
         facts that have not been established with regard to what the "intended or foreseeable" use
         of a PAM canister is. ConAgra further objects to this request as it is an improper factual
         scenario request calling for ConAgra to answer a hypothetical question not tied to the
         facts of this case, and further calling for a pure legal conclusion in determining the scope
         and application of Department of Transportation regulations. See Abbott v. United States,
         177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125 F.R.D. 1, 3
         (D.D.C. 1989).


7. In the event a PAM canister vents due to overheating, serious bodily injury and/or property
   damage can result.

OBJECTION:

        ConAgra objects to this request as it is an improper factual scenario request calling for
        ConAgra to answer a hypothetical question not tied to the facts of this case. See Abbott v.
        United States, 177 F.R.D. 92, 93-94 (N.D.N. Y. 1997); see also Kendrick v. Sullivan, 125
        F.R.D. 1, 3 (D.D.C. 1989). ConAgra further objects to this request as it is an incomplete
        hypothetical.


8. There are no signs of pre-venting physical abuse or external force to the canisters of PAM
   involved in the fire which is the subject of this lawsuit.

OBJECTION:

        ConAgra objects to this request in that its reference to "pre-venting physical abuse or
        external force" is vague and ambiguous in that it does not define what acts would fall
        within the scope of these terms.


9. ConAgra is one of America's largest food companies.

RESPONSE:

        ConAgra states that it is one of North America's largest food companies.


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10. In May 2014, ConAgra was in the business selling various food brands, including PAM
    cooking spray.

OBJECTION:

         ConAgra objects to this request in that its use of the phrase "various food brands" is
         vague and ambiguous.


11. In May 2014, with respect to PAM cooking spray, the defendant ConAgra, was a product
    seller within the meaning of C.G.S. § 52-572m.

RESPONSE:

         Admitted.


12. Defendant ConAgra sold the PAM cooking spray, present at the time of the fire at issue, for
    use by consumers in residential kitchens.

OBJECTION:

        ConAgra objects to this request in that it is vague and ambiguous with regard to its
        reference to "the PAM cooking spray" because there were several containers of PAM
        present in the plaintiffs' kitchen. ConAgra further objects to this request in that it
        assumes facts that have not been established.


13. Defendant ConAgra expected that the PAM cooking spray, present at the time of the fire at
    issue, would be used in residential kitchens.

OBJECTION:

        ConAgra objects to this request in that it is vague and ambiguous with regard to its
        reference to "the PAM cooking spray" because there were several containers of PAM
        present in the plaintiffs' kitchen. ConAgra further objects to this request in that it
        assumes facts that have not been established.




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14. A canister of PAM, present at the time of the fire at issue, over-pressurized and vented,
    spraying its flaming contents onto Emma Schmidt and Hallie Meyer, and igniting a fire at the
    Meyer residence.


RESPONSE:

         Denied.


                                    Respectfully Submitted,

                                    THE DEFENDANT,
                                    CONAGRA FOODS, INC.



                                    By:       '-1(            e
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                              CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing has been served via e-mail on the

above date to:

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                                                      Kristi~ -·




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                     EXHIBIT 2
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


EMMA SCHMIDT and HALLIE MEYER                        :      CIVIL ACTION NO.
              Plaintiffs,                            :      3:14-CV-01816 (SRU)
                                                     :
                                                     :
                                                     :
                                                     :
v.                                                   :
                                                     :
CONAGRA FOODS, INC                                   :
              Defendant                              :      JANUARY 21, 2016

                OBJECTIONS TO PLAINTIFFS’ REVISED FIRST SET OF
                 INTERROGATORIES AND PRODUCTION REQUESTS


                               PRELIMINARY STATEMENT

        Defendant ConAgra Foods, Inc. (“ConAgra”) has not yet completed its investigation of
the facts relating to this action, has not completed discovery and has not completed its
preparation for trial. Thus, ConAgra reserves the right to amend or supplement its responses to
these interrogatories and request for production if and when additional information is obtained.
These responses are made without a waiver of, and with preservation of:

        1.     All questions as to competency, relevancy, materiality, privilege, and
admissibility of the responses and subject matter thereof as evidence for any purpose in any
further proceedings in this action or in any other action;

       2.      The right to use of any such responses, or the subject matter thereof, on any
ground in any further proceedings of this action or in any other action;

       3.     The right at any time to revise, amend, correct, supplement, or clarify any of the
responses contained herein; and

       4.      The right to assert additional privileges if warranted by new documents or
information discovered at a later date.




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                                   GENERAL OBJECTIONS

        The following Objections shall be deemed incorporated into the objections and responses
to each and every Interrogatory and Request for Production (hereinafter collectively “Discovery
Request(s)”):

        1.     ConAgra objects to the Discovery Requests to the extent they are premature and
unfairly prejudicial. Because all the information and documents that are possibly within the
scope of the Discovery Requests may not yet have been located and identified, ConAgra’s
response to the Discovery Requests are based upon information available and reviewed to date.
ConAgra reserves the right to subsequently assert additional objections to the Discovery
Requests and to modify and supplement its responses, in whole or in part, without prejudice.

         2.     ConAgra objects to the Discovery Requests to the extent they seek information
that is protected from discovery and disclosure by the attorney-client privilege, the attorney work
product doctrine, the settlement/mediation privilege, the joint defense or common interest
doctrines, or by any other applicable privilege(s) or immunity. ConAgra intends to and hereby
does invoke these privileges and immunities with respect to all protected information. Should
ConAgra provide any privileged or protected information in responding to the Discovery
Requests, unless stated otherwise, such disclosure is inadvertent and shall not constitute a waiver
of any applicable privilege or immunity or of any other ground for objecting to discovery with
respect to such information, or of ConAgra’s right to object to the use of such information.

       3.     ConAgra objects to the Discovery Requests to the extent that they are overly
broad, unduly burdensome, and unlimited in time and scope.

        4.     ConAgra objects to the Discovery Requests to the extent that they call upon
ConAgra to investigate, collect, and disclose information and/or documents and things which are
neither relevant to the subject matter of this action nor reasonably calculated to lead to the
discovery of admissible evidence.

        5.       ConAgra objects to the Discovery Requests to the extent that they seek trade
secrets or other confidential or proprietary research, development, commercial, or business
information. ConAgra will produce such information, if requested and not otherwise
objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.

       6.      ConAgra objects to the Discovery Requests to the extent the information sought is
a matter of public record, is publicly available or equally available to the propounding party, or is
obtainable from some other source that is more convenient, less burdensome, or less
expensive. The parties bear an equal burden in discovery.

       7.     ConAgra objects to the Discovery Requests to the extent that they seek
information concerning ConAgra products not relevant to this litigation.


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        8.      ConAgra objects to the Discovery Requests to the extent that they purport to
create obligations that exceed the requirements of the Federal Rules of Civil Procedure or the
Local Rules of the court.

        9.      ConAgra objects to the Discovery Requests to the extent that Plaintiff seeks to
require ConAgra to provide information beyond what is reasonably available to ConAgra at
present after a reasonable search of ConAgra’s files and reasonable inquiry of ConAgra’s present
employees. Likewise, ConAgra objects to any Discovery Requests that seeks to impose a duty on
ConAgra to create analyses that ConAgra does not create or maintain in the ordinary course of
business. In responding to the Discovery Requests, ConAgra conducted a diligent search,
reasonable in scope, of those documents or information responsive to the Discovery Requests
and solicited information from those individuals employed or otherwise affiliated with ConAgra
believed to be most likely to have information responsive to the Discovery Requests. ConAgra
has not, however, undertaken to search or review all of the files and records in ConAgra’s
possession, custody, or control, nor has ConAgra solicited information from every individual
employed by or otherwise affiliated with ConAgra, because to do so would be unduly
burdensome and expensive. In the event, therefore, that additional information, documents,
records, or files responsive to any of the Discovery Requests are subsequently identified or
brought to ConAgra’s attention, ConAgra reserves the right to amend or supplement its
responses.

        10.     In responding to the Discovery Requests, ConAgra does not concede that any
Discovery Request to which it responds is relevant to the subject matter of this litigation or
reasonably calculated to lead to the discovery of admissible evidence. ConAgra expressly
reserves both the right to object to further discovery into the subject matter of these Discovery
Requests and the right to object to the introduction into evidence of responses to these Discovery
Requests. ConAgra also reserves the right to object to any effort to compel responses beyond
those provided herein. ConAgra also reserves the right to question the authenticity, relevancy,
materiality, privilege, and admissibility as evidence for any purpose of the information provided
in the documents identified and/or produced in response to these Discovery Requests, which may
arise in any subsequent proceeding in, or the trial of, this or any other action.

        11.    These Objections apply to all of ConAgra’s responses. To the extent that
Objections are repeated in a specific response, those specific citations are provided because they
are believed to be particularly applicable to the specific Discovery Requests and are not to be
construed as a waiver of any other Objection applicable to information falling within the scope
of the Discovery Requests.

        12.    The following responses reflect ConAgra’s present knowledge, information, and
belief, and may be subject to change or modification based on ConAgra’s further discovery or on
facts or circumstances that may come to ConAgra’s knowledge. ConAgra will supplement its
responses as required under the Federal Rules of Civil Procedure.




{W2635901;3}                                    3
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        13.     ConAgra objects to the Discovery Requests in that they are all vague and
ambiguous Plaintiffs failed to provide a lot, batch or serial number for the PAM Cooking Spray
canister at issue.

        14.    ConAgra objects to the Discovery Requests as generally vague and ambiguous.
Each interrogatory necessarily requires interpretation by ConAgra. ConAgra’s interpretation of
the interrogatory, in some or in all cases, may be different from what was intended by the
plaintiffs.

       15.     ConAgra objects to these Discovery Requests to the extent that they are
premature, call for a legal conclusion, or seek information or documents containing legal
opinions, mental impressions, or theories of counsel.

                                        DEFINED TERM

       In accordance with discussions between the parties to narrow and clarify these requests,
the PAM canister that is the subject of these interrogatories, and as referenced in the objections
and responses as the “PAM Canister,” is seen in Fire Marshal photo #75, and is attached hereto
as Exhibit A. In addition, the following identifying marks are contained on the canister:
       ???1227100L614:38
       Best by J?n 20 2014




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                           OBJECTIONS TO INTERROGATORIES

       1.       In accordance with FRCP26(a)(1)(i), provide the name, and if known the address

and telephone number of each individual likely to have discoverable information – along with

the subjects of that information – that the defendant may use to support its claims or defenses,

unless the use would be solely for impeachment.

OBJECTION:

        ConAgra objects to this interrogatory to the extent it seeks the disclosure of information
        protected by the attorney-client privilege and work product doctrine.


        2.      Give the name and addresses of persons known to the Defendant or counsel to be

witnesses concerning the facts of the case, indicate whether or not written or recorded statements

have been taken from the witnesses, and indicate who has possession of such statements.

OBJECTION:

        ConAgra objects to this interrogatory as overly broad, vague and ambiguous as to what
        constitutes the “facts” of this case. ConAgra further objects to this interrogatory insofar
        as it requests information protected by the attorney/client privilege, attorney work
        product protection or any other similar privilege and/or protection. ConAgra further
        objects to this interrogatory in that it seeks information that is equally available to, or in
        the possession of, the plaintiffs.




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        3.     For each person known to the parties or counsel to be a witness concerning the

facts of the case, set forth either a summary sufficient to inform the other party of the important

facts known to or observed by such witness, or provide a copy of any written or recorded

statements taken from such witnesses.

OBJECTION:

        ConAgra objects to this interrogatory in that it is overly broad and unduly burdensome.
        ConAgra further objects to this interrogatory as overly broad, vague and ambiguous as to
        what constitutes the “facts” of this case. ConAgra further objects to this interrogatory
        insofar as it requests information protected by the attorney/client privilege, attorney work
        product protection or any other similar privilege and/or protection. ConAgra further
        objects to this interrogatory in that it seeks information that is equally available to, or in
        the possession of, the plaintiffs.


        4.     In accordance with FRCP 26(a)(1)(ii), provide a description by category and

location – of all documents, electronically stored information and tangible things that the

defendant has in its possession, custody, or control and may use to support its claims or defenses

unless the use would be solely for impeachment.

OBJECTION:

        ConAgra objects to this interrogatory to the extent it seeks the disclosure of information
        protected by the attorney-client privilege and work product doctrine.




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        5.     Does this Defendant have a liability insurance company or carrier that protects it

against any portion of the incident or occurrence which is stated in the complaint? If so, provide

the names of all insurance carriers including any excess or umbrella carriers and the liability

limits of such policies.

OBJECTION:

        ConAgra objects to this request in that it is overly broad, unduly burdensome, and seeks
        information that is not reasonably calculated to lead to the discovery of admissible
        evidence.


        6.     State whether this Defendant or any of its agents, servants, employees or other

representatives made any visits to the Meyer home at any time after the fire. If so, please state for

each such visit:

               a.      The date of the visit;

               b.      The name, address and job title of the person(s) who made such visit;

               c.      Attach true and complete copies of any and all written or printed

                       documentation whatsoever which relate to such visit.

OBJECTION:

        ConAgra objects to this interrogatory insofar as it requests information protected by the
        attorney/client privilege, attorney work product protection or any other similar privilege
        and/or protection. ConAgra further objects to this interrogatory in that the information it
        seeks that is not protected by a privilege or the work product doctrine is equally available
        to the plaintiffs.




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        7.        Has this Defendant ever been sued for products liability pertaining to an

explosion, venting canister or fires caused by PAM canisters? If so, state when and where such

suit was filed.

OBJECTION:

        ConAgra objects to this interrogatory on the grounds that it seeks irrelevant information
        that is not reasonably calculated to lead to the discovery of admissible evidence.
        ConAgra further objects to this interrogatory to the extent it presumes facts which have
        not been established.


        9.        Please state the name, address and title of each and every individual and/or

engineer who was responsible for the design, evaluation, testing and safety analyses of the PAM

canister identified in the Definitions and Notes, Part J, above.

OBJECTION:

        ConAgra objects to this interrogatory in that it is overly broad, unduly burdensome, and
        seeks information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory in that it is vague and ambiguous
        with regard to its reference to whom was “responsible” and the phrase “the design,
        evaluation, testing and safety analysis of the PAM canister.” ConAgra further objects to
        this interrogatory to the extent it seeks information that is not within ConAgra’s
        possession, custody, or control.




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        10.    Please describe all testing and/or research ConAgra performed to ensure that the

DOT-2Q vented container identified in the Definitions and Notes, Part J, above was reasonably

safe for its intended purposes, including the persons who performed this research or testing. If

some other person or entity other than ConAgra performed such research or testing, please

identify that person/entity.

OBJECTION:

        ConAgra objects to this interrogatory in that the phrase “reasonably safe for its intended
        purposes” is vague and ambiguous because plaintiffs do not specify what these “intended
        purposes” are. ConAgra further objects to this interrogatory because it is overly broad
        and unduly burdensome in that there are more efficient means of obtaining the
        information sought such as witness testimony and/or document production. ConAgra
        further objects to this interrogatory to the extent it seeks information that is equally
        available to the plaintiffs. ConAgra further objects to this interrogatory to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.


        11.    If the defendant claims that the DOT-2Q vented container identified in the

Definitions and Notes, Part J, above, was reasonably safe for its intended purposes, please state

the basis for that determination.

OBJECTION:

        ConAgra objects to this interrogatory in that the phrase “reasonably safe for its intended
        purposes” is vague and ambiguous because plaintiffs do not specify what these “intended
        purposes” are. ConAgra further objects to this interrogatory to the extent it seeks trade
        secrets or other confidential or proprietary research, development, commercial, or
        business information. ConAgra will produce such information, if not otherwise
        objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.




{W2635901;3}                                     9
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        12.    Please identify all internal standards ConAgra used to determine that PAM

canister identified in the Definitions and Notes, Part J, above was reasonably safe for its intended

purposes.

OBJECTION:

        ConAgra objects to this interrogatory in that the phrase “reasonably safe for its intended
        purposes” is vague and ambiguous because plaintiffs do not specify what these “intended
        purposes” are. ConAgra further objects to this interrogatory to the extent it seeks trade
        secrets or other confidential or proprietary research, development, commercial, or
        business information. ConAgra will produce such information, if not otherwise
        objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.


        13.    Describe the process by which ConAgra selected the DOT-2Q vented container

for PAM, identified in the Definitions and Notes, Part J, above, including in your description

whether ConAgra provided the manufacturer with specifications for the container, and

information regarding the container contents.

OBJECTION:

        ConAgra objects to this interrogatory because it is overly broad and unduly burdensome
        in that there are far more efficient means of obtaining the information sought such as
        witness testimony and document production. ConAgra further objects to this
        interrogatory to the extent it seeks trade secrets or other confidential or proprietary
        research, development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.




{W2635901;3}                                    10
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        14.    For each affirmative defense raised in ConAgra’s Answer, listed below, please

state the factual basis for the defense and identify all of the documents that support the defense

and all persons who have knowledge of the facts underlying the defense.

OBJECTION:

        ConAgra objects to this interrogatory insofar as it requests information protected by the
        attorney/client privilege, attorney work product protection or any other similar privilege
        and/or protection. ConAgra further objects to this interrogatory as is overly broad and
        unduly burdensome in that the information sought may be discovered by much more
        efficient means such as deposition and/or document production. ConAgra further objects
        to this interrogatory in that it calls for a legal conclusion. ConAgra further objects to this
        interrogatory to the extent it seeks information that is in the possession of or equally
        available to the plaintiffs. ConAgra further objects to this interrogatory to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.


        15.    State the name, address and job title of the corporation, person(s) and/or

employee(s) of this Defendant who are most knowledgeable with regard to any allegation of

exploding or venting PAM canisters within the last five (5) years.

OBJECTION:

        ConAgra objects to this interrogatory as it is overly broad and unduly burdensome in that

it is not properly limited in scope.




{W2635901;3}                                      11
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           16.    Has any ConAgra employee, or anyone retained by ConAgra, ever performed any

research and/or tests to determine the temperature at which a PAM canister will vent, burst, or

explode? If so, identify that person and produce all records and results of the research and/or

testing.

OBJECTION:

           ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its
           reference to “anyone retained by ConAgra,” “any research and/or tests,” “a PAM
           canister,” and “the temperature.” ConAgra further objects to this interrogatory in that it
           is overly broad and unduly burdensome. ConAgra further objects to this interrogatory to
           the extent it seeks information and documents that are not in ConAgra’s possession,
           custody, or control. ConAgra further objects to this interrogatory to the extent it seeks
           information protected by the attorney-client, work product, or any other privilege or
           protection. ConAgra further objects to this interrogatory to the extent it seeks trade
           secrets or other confidential or proprietary research, development, commercial, or
           business information. ConAgra will produce such information, if not otherwise
           objectionable, only pursuant to the restrictions of a Protective Order entered by the Court.


           17.    Was ConAgra aware of any research/testing performed by other individuals or

entities which determine the temperature at which the DOT-2Q canister identified in the

Definitions and Notes, Part J, above would burst, vent, or explode? If so, identify and produce

all records of such research or testing.


OBJECTION:

           ConAgra objects to this interrogatory as it is vague and ambiguous with regard to its
           reference to “any research/testing” and “the temperature.” ConAgra further objects to
           this interrogatory in that it is overly broad and unduly burdensome. ConAgra further
           objects to this interrogatory to the extent it seeks information and documents that are not
           in ConAgra’s possession, custody, or control. ConAgra further objects to this
           interrogatory to the extent it seeks information protected by the attorney-client, work
           product, or any other privilege or protection. ConAgra further objects to this
           interrogatory to the extent it seeks trade secrets or other confidential or proprietary
           research, development, commercial, or business information. ConAgra will produce such
           information, if not otherwise objectionable, only pursuant to the restrictions of a
           Protective Order entered by the Court.
{W2635901;3}                                       12
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        19.    Why did ConAgra decide to use the 2Q vented container design identified in the

Definitions and Notes, Part J, above, over the DOT-E or 2Q non-vented container?

OBJECTION:

        ConAgra objects to this interrogatory because it is vague and ambiguous in its reference
        to “the DOT-E . . . non-vented container” “the 2Q non-vented container” as these terms
        do not identify particular containers. ConAgra further objects to this interrogatory to the
        extent it seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.


        20.    In 2013, did ConAgra use different PAM canisters for different retail markets or

geographic locations, including Canada and if so, why?

OBJECTION:

        ConAgra objects to this interrogatory because it its reference to “PAM canisters” and
        “retail markets” is vague and ambiguous. ConAgra further objects to this interrogatory to
        the extent it seeks trade secrets or other confidential or proprietary research,
        development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.


        22. If the canister identified in the Definitions and Notes, Part J, above vented, burst or

exploded below the required minimum pressure set forth in 49 CFR Sec. 173.306, without any

external force or abuse applied, do you agree that the container failed to meet DOT

specifications? If not, please state the basis for your answer.


OBJECTION:

        ConAgra objects to this interrogatory because the term “external force or abuse” is vague
        and ambiguous because, inter alia, it is not defined and not terminology used in the DOT
        regulations. ConAgra further objects to this interrogatory as it is an improper factual
{W2635901;3}                                     13
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        scenario interrogatory calling for ConAgra to answer a hypothetical question not tied to
        the established facts of this case, and further calling for a pure legal conclusion in
        determining the scope and application of Department of Transportation regulations. See
        Abbott v. United States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v.
        Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989). ConAgra further objects to this interrogatory as
        it calls for speculation.


        23.    At what temperature would the contents of the DOT-2Q vented container of Pam,

identified in the Definitions and Notes, Part J, above, exceed an equilibrium vapor pressure of

180-psig, assuming the container was at or close to sea-level?


OBJECTION:

        ConAgra objects to this interrogatory to the extent it seeks trade secrets or other
        confidential or proprietary research, development, commercial, or business
        information. ConAgra will produce such information, if not otherwise objectionable,
        only pursuant to the restrictions of a Protective Order entered by the Court.


        24.    What is the exact DOT code that authorizes the use of the DOT-2Q vented

canister identified in the Definitions and Notes, Part J, above?

OBJECTION:

        ConAgra objects to this interrogatory because its reference to “DOT code” is vague and
        ambiguous. ConAgra further objects to this interrogatory in that it does not make sense,
        because Department of Transportation Regulations do not provide authorizations.




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        25.    Describe any testing and/or research that was done with respect to any “human

factors” involved in the foreseeable use and/or misuse of Pam.

OBJECTION:

        ConAgra objects to this interrogatory because its references to “any testing and/or
        research,” “human factors,” and “misuse of Pam” are vague and ambiguous. ConAgra
        further objects to this interrogatory in that it is overly broad, unduly burdensome, and
        seeks information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory to the extent it seeks disclosure
        of information not within ConAgra’s possession, custody, or control. ConAgra further
        objects to this request to the extent it seeks information protected by the attorney-client,
        work product, or any other privilege or protection. ConAgra further objects to this
        interrogatory to the extent it seeks trade secrets or other confidential or proprietary
        research, development, commercial, or business information. ConAgra will produce such
        information, if not otherwise objectionable, only pursuant to the restrictions of a
        Protective Order entered by the Court.




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                    OBJECTIONS TO REQUESTS FOR PRODUCTION


1. All statements, whether written, recorded or stored in some other fashion, of persons listed in
response to interrogatories 2 and 3.

OBJECTION:

        ConAgra incorporates its objections to interrogatories number 2 and 3 as if fully set forth
        herein.


2. All photographs, sketches or other prepared documents listed in response to interrogatory 4.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 4 as if fully set forth herein.


3. A copy of all declarations pages for insurance policies listed in response to interrogatory 5.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 5 as if fully set forth herein.


4. Documentation relating to site visits listed in response to interrogatory 6.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 6 as if fully set forth herein.




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5. Documents reflecting testing and test results described in response to interrogatories 10 and
11.


OBJECTION:

        ConAgra incorporates its objections to interrogatories number 10 and 11 as if fully set
        forth herein.


6. All communications between ConAgra and the manufacturer of the canister reflecting
specifications for the container, and information regarding the container contents.


OBJECTION:

        ConAgra objects to this request in that the terms “the canister” and “the container” are
        vague and ambiguous. ConAgra further objects to this request in that it is overly broad,
        unduly burdensome, and seeks information that is not reasonably calculated to lead to the
        discovery of admissible evidence. ConAgra further objects to this request to the extent it
        seeks trade secrets or other confidential or proprietary research, development,
        commercial, or business information. ConAgra will produce such information, if not
        otherwise objectionable, only pursuant to the restrictions of a Protective Order entered by
        the Court.


7. ConAgra internal standards regarding PAM and PAM canisters as referred to in interrogatory
12.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 12 as if fully set forth
        herein.




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8. All documents referred to in response to interrogatory 14.

OBJECTION:

        ConAgra incorporates its objections to interrogatory number 14 as if fully set forth
        herein.


9. All documents regarding research/testing referred to in response to interrogatory 16 and 17.


OBJECTION:

        ConAgra incorporates its objections to interrogatories number 16 and 17 as if fully set
        forth herein.



10.    All documents regarding research/testing regarding human factors issues involved in the
use/misuse of PAM.

OBJECTION:

        ConAgra objects to this interrogatory because its references to “research/testing,”
        “human factors,” and “misuse of Pam” are vague and ambiguous. ConAgra further
        objects to this interrogatory in that it is overly broad, unduly burdensome, and seeks
        information that is not reasonably calculated to lead to the discovery of admissible
        evidence. ConAgra further objects to this interrogatory to the extent it seeks disclosure
        of information not within ConAgra’s possession, custody, or control. ConAgra further
        objects to this request to the extent it seeks information protected by the attorney-client,
        work product, or any other privilege or protection.




{W2635901;3}                                     18
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                               Respectfully Submitted,

                               THE DEFENDANT,
                               CONAGRA FOODS, INC.



                               By:   /s/ Todd R. Michaelis (ct28821)
                                 Kristin Connors (ct12394)
                                 Todd R. Michaelis (ct28821)
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                                 tmichaelis@carmodylaw.com




{W2635901;3}                            19
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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing has been served via e-mail on the
above date to:

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                                             /s/ Todd R. Michaelis (ct28821)
                                                   Todd R. Michaelis




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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT


EMMA SCHMIDT and HALLIE MEYER                        :          CIVIL ACTION NO.
              Plaintiffs,                            :          3:14-CV-01816 (SRU)
                                                     :
                                                            :

                                                     :
                                                     :
v.                                                   :
                                                     :
CONAGRA FOODS, INC.                                  :
              Defendant                              :          JANUARY 21, 2016

             DEFENDANT CONAGRA FOODS, INC.’S OBJECTIONS TO
               PLAINTIFFS’ REVISED REQUESTS FOR ADMISSION

        Preliminary Note: In accordance with discussions between the parties to narrow
and clarify these requests, the “PAM Canister” that is the subject of these Objections and
Responses to Plaintiffs’ Requests for Admission is seen in Fire Marshal photo #75,
attached to Plaintiffs’ Requests for Admission as Exhibit A, and bears the following
identifying marks:
        ????1227100L614:38
        Best by J?n 20 2014


      2.      In 2013, PAM Original made with canola oil was packaged and sold to
consumers in both DOT-2Q vented and DOT-2Q non-vented containers.

OBJECTION:

        ConAgra objects to this request in that its reference to “DOT-2Q vented and
        DOT-2Q non-vented containers” is vague and ambiguous as these descriptions do
        not identify particular containers or PAM products, of which there are many.




{W2637015}                                      1
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        3.    Per DOT Regulations, 49 CFR-Sec. 173.306, the maximum 130F
equilibrium vapor pressure of the contents in the PAM vented canisters in the Meyer
home on the date of this incident must not exceed 180-psig.

OBJECTION:

        ConAgra objects to this request in that its reference to “the PAM vented
        canisters” is vague and ambiguous because it does not identify a particular
        container.


        5.      In the absence of any external forces, if the PAM canister that vented in
this incident deformed or vented below a pressure of 180-psig, it did not meet DOT
specifications contained in 49 CFR Sec. 173.306 and 49 CFR Sec. 178-33a.

OBJECTION:

        ConAgra objects to this request in that its references to “the absence of any
        external forces” and “deformed” are vague and ambiguous in that it does not
        define what an “external force” is and does not state whether the deformation is
        permanent or temporary. ConAgra further objects to this request in that it is
        vague and ambiguous because Plaintiffs fail to specify when, where, and under
        what circumstances they allege the DOT specifications apply. ConAgra further
        objects to this request as it is an improper factual scenario request calling for
        ConAgra to answer a hypothetical question not tied to the facts of this case, and
        further calling for a pure legal conclusion in determining the scope and
        application of Department of Transportation regulations. See Abbott v. United
        States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125
        F.R.D. 1, 3 (D.D.C. 1989). ConAgra further objects to this request as it calls for
        speculation.


       6.      Heating of a PAM DOT-2Q canister during its intended or foreseeable
uses could result in the product venting.

OBJECTION:

        ConAgra objects to this request to the extent it assumes facts that have not been
        established with regard to what the “intended or foreseeable” use of a PAM
        canister is. ConAgra further objects to this request as it is an improper factual
        scenario request calling for ConAgra to answer a hypothetical question not tied to
        the facts of this case, and further calling for a pure legal conclusion in
        determining the scope and application of Department of Transportation
        regulations. See Abbott v. United States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997);
        see also Kendrick v. Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989). ConAgra further
        objects to this request as it calls for speculation.


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        7.     In the event a PAM canister vents due to overheating, serious bodily
injury and/or property damage can result.

OBJECTION:

        ConAgra objects to this request as it is an improper factual scenario request
        calling for ConAgra to answer a hypothetical question not tied to the facts of this
        case. See Abbott v. United States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see
        also Kendrick v. Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989). ConAgra further
        objects to this request as it is an incomplete hypothetical. ConAgra further
        objects to this request as it calls for speculation.


       8.      There is no evidence of external force or damage to the PAM canister
involved in this incident before it was vented.

OBJECTION:

        ConAgra objects to this request in that its reference to “external force” is vague
        and ambiguous in that it does not define what would fall within the scope of this
        term.


       10.   In May 2013, ConAgra was in the business selling various food brands,
including PAM cooking spray.

OBJECTION:

        ConAgra objects to this request in that its use of the phrase “various food brands”
        is vague and ambiguous.




{W2637015}                                       3
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                             Respectfully Submitted,

                             THE DEFENDANT,
                             CONAGRA FOODS, INC.



                             By:   /s/ Todd R. Michaelis (ct28821)
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                               Todd R. Michaelis (ct28821)
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{W2637015}                             4
   Case 3:14-cv-01816-SRU Document 38-1 Filed 05/05/16 Page 54 of 71




                             CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing has been served via e-mail on the

above date to:

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                                              /s/ Todd R. Michaelis (ct28821)
                                                    Todd R. Michaelis




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                     EXHIBIT 3
               Case 3:14-cv-01816-SRU Document 38-1 Filed 05/05/16 Page 56 of 71


Marilyn Wey

From:                              Kathleen Nastri
Sent:                              Thursday, January 21, 2016 6:13 PM
To:                                Kristin Connors; Todd R. Michaelis
Cc:                                Doreen M. Archambault; Jack Mills; Linda Grossberg; Marilyn Wey
Subject:                           RE: ConAgra - Schmidt


OK. I will wait to see the responses

‐‐‐‐‐Original Message‐‐‐‐‐
From: Kristin Connors [mailto:KConnors@carmodylaw.com]
Sent: Thursday, January 21, 2016 5:24 PM
To: Kathleen Nastri <KNastri@KOSKOFF.com>; Todd R. Michaelis <TMichaelis@carmodylaw.com>
Cc: Doreen M. Archambault <DArchambault@carmodylaw.com>; Jack Mills <attyjohnwmills@sbcglobal.net>; Linda
Grossberg <LGrossberg@KOSKOFF.com>; Marilyn Wey <MWey@KOSKOFF.com>
Subject: RE: ConAgra ‐ Schmidt

Kathleen,

I should have been more specific in my voice mail message to you on Tuesday regarding responses and production
notwithstanding the objections.

We ask that you wait to see the responses and document production before seeking to argue the objections. ConAgra
intends to produce documents and answer most if not all of the requests for admission and interrogatories over the
objections. While in many instances ConAgra is not able to agree with the wording of the various requests, for the most
part we believe that we have an understanding of what is sought and intend to provide it. There may be a just a few
items that will need to be brought to the court's attention, but I expect the responses and document production to
alleviate most, if not all, of your concerns.

Kristin




Kristin Connors
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50 Leavenworth Street | Waterbury, CT 06702
Direct: 203‐578‐4202 | Fax: 203‐575‐2600 mailto:KConnors@carmodylaw.com | http://www.carmodylaw.com


‐‐‐‐‐Original Message‐‐‐‐‐
From: Kathleen Nastri [mailto:KNastri@KOSKOFF.com]
Sent: Thursday, January 21, 2016 4:46 PM
To: Kristin Connors; Todd R. Michaelis
Cc: Doreen M. Archambault; Jack Mills; Linda Grossberg; Marilyn Wey
Subject: RE: ConAgra ‐ Schmidt

Kristin/Todd – I am stunned by these objections. I thought, after spending a lot of time going over the objections the
first time, that we had reached some understanding regarding discovery. I spent a great deal of time revising these

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interrogatories and requests for admissions specifically to address your concerns. I will be asking the court to schedule a
hearing on this.

Kathleen



From: Doreen M. Archambault [mailto:DArchambault@carmodylaw.com]
Sent: Thursday, January 21, 2016 4:37 PM
To: Kathleen Nastri <KNastri@KOSKOFF.com>
Cc: Kristin Connors <KConnors@carmodylaw.com>; Todd R. Michaelis <TMichaelis@carmodylaw.com>
Subject: ConAgra ‐ Schmidt




Please see attached.



Doreen M. Archambault

Legal Assistant

Carmody Torrance Sandak & Hennessey LLP

50 Leavenworth Street | Waterbury, CT 06702

Direct: 203‐578‐4298 | Fax: 203‐575‐2600

DArchambault@carmodylaw.com <mailto:DArchambault@carmodylaw.com> | www.carmodylaw.com
<http://www.carmodylaw.com>




‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐

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                                                             2
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Hennessey LLP, please go to http://www.carmodylaw.com <http://www.carmodylaw.com> .

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐

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‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
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                     EXHIBIT 4
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                EXHIBIT 4 (partial)


Counsel has omitted Defendant’s Objections
and Responses to Plaintiffs’ Revised First Set
of Interrogatories and Requests for
Production dated April 6, 2016 as this
information has been classified as
“CONFIDENTIAL”.
Therefore, a copy has not been formally filed
on the docket but has been provided to the
court for in camera review.
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


EMMA SCHMIDT and HALLIE MEYER                                 CIVIL ACTION NO.
              Plaintiffs,                                     3:14-CV-01816 (SRU)




v.

CONAGRA FOODS, INC.
              Defendant                                       APRIL 6, 2016

     DEFENDANT CONAGRA FOODS, INC.'S OBJECTIONS AND RESPONSES TO
             PLAINTIFFS' REVISED REQUESTS FOR ADMISSION

Preliminary Note: In accordance with discussions between the parties to narrow and clarify
these requests, the "PAM Canister" that is the subject of these Objections and Responses to
Plaintiffs' Requests for Admission is seen in Fire Marshal photo #75, attached to Plaintiffs'
Requests for Admission as Exhibit A, and bears the following identifying marks:

         ????1227100L614:38
         Best by J?n 20 2014

1. Under 49 CFR Sec. 173.306 and 49 CFR Sec. 178.33a, the DOT regulates the specifications
   of the PAM canister that was in the Meyer home on May 13, 2013 and the pressure of the
   contents therein while being transported.

RESPONSE:

         ConAgra admits that 49 CFR Sec. 173.306 and 49 CFR Sec. 178.33a pertain to the PAM
         Canister while in transportation and that 49 CFR Sec. 173.306 includes specifications
         pertaining to the internal pressure of the PAM Canister while in transportation. ConAgra
         denies that 49 CFR Sec. 178.33a regulates the pressure of the contents of the PAM
         Canister. ConAgra denies the remainder of the allegations in this Request.




{W2635214;5}                                     1
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2. In 2013, PAM Original made with canola oil was packaged and sold to consumers in both
   DOT-2Q vented and DOT-2Q non-vented containers.

OBJECTION:

         ConAgra objects to this request in that its reference to "DOT-2Q vented and DOT-2Q
         non-vented containers" is vague and ambiguous as these descriptions do not identify
         particular containers or PAM products, of which there are many.

RESPONSE:

         Subject to and without waiving the foregoing objections, ConAgra admits that, in 2013,
         PAM was sold in containers that met the DOT-2Q standard and that some of these
         containers were a vented design and others were not.


3. Per DOT Regulations, 49 CFR-Sec. 173.306, the maximum 130°F equilibrium vapor
   pressure of the contents in the PAM vented canisters in the Meyer home on the date of this
   incident must not exceed 180-psig.

OBJECTION:

         ConAgra objects to this request in that its reference to "the PAM vented canisters" is
         vague and ambiguous because it does not identify a particular container.

RESPONSE:

         Subject to and without waiving the foregoing objections, ConAgra admits that 49 CFR
         Sec. 173.306 pertains to the PAM Canister while in transit and that it specifies a
         maximum internal pressure at 130°F of 180 psig. ConAgra denies that 49 CFR Sec.
         173 .306 applies to the PAM Canister while in the Meyer home.


4. Per DOT regulations of 49 CFR Sec. 173.306 and 49 CFR Sec. 178-33a, no leakage or
   permanent deformation of the PAM DOT-2Q canister that vented in this incident may occur
   out of pressure less than 180-psig.

RESPONSE:

         ConAgra admits that 49 CFR Sec. 173 .306 requires the PAM Canister to withstand an
         internal pressure of 180psig without leakage or permanent deformation while in transit.
         ConAgra denies the remainder of this Request.



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5. In the absence of any external forces, if the PAM canister that vented in this incident
   deformed or vented below a pressure of 180-psig, it did not meet DOT specifications
   contained in 49 CFR Sec. 173.306 and 49 CFR Sec. 178-33a.

OBJECTION:

         ConAgra objects to this request in that its references to "the absence of any external
         forces" and "deforms" are vague and ambiguous in that it does not define what an
         "external force" is and does not state whether the deformation is permanent or temporary.
         ConAgra further objects to this request in that it is vague and ambiguous because
         Plaintiffs fail to specify when, where, and under what circumstances they allege the DOT
         specifications apply. ConAgra further objects to this request as it is an improper factual
         scenario request calling for ConAgra to answer a hypothetical question not tied to the
         facts of this case, and further calling for a pure legal conclusion in determining the scope
         and application of Department of Transportation regulations. See Abbott v. United States,
         177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125 F.R.D. 1, 3
         (D.D.C. 1989). ConAgra further objects to this request as it calls for speculation.


6. Heating of a PAM DOT-2Q canister during its intended or foreseeable uses could result in
   the product venting.

OBJECTION:

         ConAgra objects to this request to the extent it assumes facts that have not been
         established with regard to what the "intended or foreseeable" use of a PAM canister is.
         ConAgra further objects to this request as it is an improper factual scenario request
         calling for ConAgra to answer a hypothetical question not tied to the facts of this case,
         and further calling for a pure legal conclusion in determining the scope and application of
         Department of Transportation regulations. See Abbott v. United States, 177 F.R.D. 92,
         93-94 (N.D.N.Y. 1997); see also Kendrickv. Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989).
         ConAgra further objects to this request as it calls for speculation.


RESPONSE:

         Subject to and without waiving the foregoing objections, ConAgra denies that heating of
         a PAM canister is an intended or foreseeable use.




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7. In the event a PAM canister vents due to overheating, serious bodily injury and/or property
   damage can result.

OBJECTION:

         ConAgra objects to this request as it is an improper factual scenario request calling for
         ConAgra to answer a hypothetical question not tied to the facts of this case. See Abbott v.
         United States, 177 F.R.D. 92, 93-94 (N.D.N.Y. 1997); see also Kendrick v. Sullivan, 125
         F.R.D. 1, 3 (D.D.C. 1989). ConAgra further objects to this request as it is an incomplete
         hypothetical. ConAgra further objects to this request as it calls for speculation.


8. There is no evidence of external force or damage to the PAM canister involved in this
   incident before it was vented.

OBJECTION:

         ConAgra objects to this request in that its reference to "external force" is vague and
         ambiguous in that it does not define what would fall within the scope of this term.

RESPONSE:

         Subject to and without waiving the foregoing objection, ConAgra denies that there is no
         evidence of external force or damage as there is evidence that the PAM Canister was
         exposed to heat.


9. ConAgra is one of North America's largest food companies.

RESPONSE:

         Admitted.




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 10. In May 2013, ConAgra was in the business selling various food brands, including PAM
     cooking spray.

OBJECTION:

         ConAgra objects to this request in that its use of the phrase "various food brands" is
         vague and ambiguous.

RESPONSE:

         Subject to and without waiving the foregoing objection, ConAgra admits that in May
         2013, it sold PAM no-stick cooking spray.


11. In May 2013, with respect to PAM cooking spray, the defendant ConAgra, was a product
    seller within the meaning of C.G.S. § 52-572m.

RESPONSE:

         Admitted.


12. Defendant ConAgra sold the PAM cooking spray referenced above and seen in Fire Marshal
    photo #75, for use by consumers in residential kitchens.

RESPONSE:

         ConAgra admits that the PAM Canister was sold for use by consumers in residential
         kitchens.


13. Defendant ConAgra expected that the PAM cooking spray referenced above and seen in Fire
    Marshal photo #75, would be used in residential kitchens.

RESPONSE:

         ConAgra admits that it expected the PAM Canister would be used in residential kitchens.




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14. A canister of PAM, present at the time of the fire at issue, over-pressurized and vented,
    spraying its flaming contents onto Emma Schmidt and Hallie Meyer, and igniting a fire at the
    Meyer residence.


RESPONSE:

         Denied.


                                     Respectfully Submitted,

                                    THE DEFENDANT,
                                    CONAGRA FOODS , INC.



                                     By: ~/(__~
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                                        Todd R. Michaelis (ct28821)
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{W2635214;5}                                   6
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                              CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing has been served via e-mail on the
 above date to:

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                                                     Todd R. Michaelis (ct28821)




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                     EXHIBIT 5
                         Case 3:14-cv-01816-SRU Document 38-1 Filed 05/05/16 Page 69 of 71




Lcue Q[fices
                                                                     April 21, 2016
350 Fairj.ielcl .Acenue
Bridgeport, CT 06604           Kristin Connors, Esq.
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F1LX (203) 368-3244
                               50 Leavenworth Street
e-1nai!: kkb~_l koskq[fconi
1c1c1c. koskq[f corn           Waterbury, CT 06702

Tileodore I Koskq[f
     (1913-1.98.9)                    Re:      Schmidt, Et al v. ConAgra Foods, Inc.
Jficilae/ P. Koskq[f
Ricllarcl A. Biecle1
Joel fl. Lu:htensteia
Christopher D. Bernard
                               Dear Kristin:
Care!J B. Reil!JJ
Jc1111es D. floricitz                  I have reviewed your answers and objections to my interrogatories and
Joshua D. J{oskq[f             requests for production. I have the following comments and suggestions for
Regina ,11. j11urµhy
.Antonio Po11vert III
                               resolution:
f(athleen L. 1\Tast-ri
 l,Vi ! l i cun i11. Bloss              As a preliminary matter, I note that we spent a great deal of time going
J. Craig S1nith                over your objections to my first set of discovery. As you know, I revised the
Sean K il!JCEl/igolt
.Alino1· C. Sterling
                               discovery to address your concerns and was surprised to see so many objections
Dcu'id 111 Bernard             to the revised set of discovery. When I raised this with you, you asked me to wait
Ch rislopller 111. 1lfattei    until I had received the responses, as "ConAgra intends to produce documents and
Cy11tl1 ia C Bott
f{atherine L. 111esner-Jfage   answer most if not all of the requests for admission and interrogatories over the
                               objections ... " before I raised this with the court. I am writing to you one final
OjC01111sc/
Jcunes TVu, LLC
          1
                               time before filing a motion with the court.
Preston C. Tisdale
                               Interrogatory #1: You are required to provide this information under FRCP
Paralegals
                               26(a)(l)(A)(i). I do not understand the basis for the objection. In addition, you
Linda Grossberg
Barba1·a Lat·occa              have answered the interrogatory "subject to and without waiving the objection ... "
Beliz Vogler                   Having done so, you are required to describe the nature of the information not
Diana V Orozco
Patricia J11.11arris, R.1V     provided sufficiently to enable me to assess the applicability of the privilege.
Jfarge Esposito                FRCP 26(b)(5). Lastly, if there is information you are withholding, based on your
Hlendy Grosso
Diane C. Rivera, R.1V
                               objection, you are required to provide a privilege log.
Diane L. Zale1oski
Terri L. Beattu                Interrogatory #2: Please confirm you are not withholding any information based
Janet E. 111itchell            on your claim of privilege.
Julie .4 Robson
Diana C. Co1;pola              Interrogatory #3: This interrogatory is not overly broad or vague. It should be
Julie .A. Vas_s·ar
J(are11 111. Jacobs, R.ivr     clear to you what the phrase "facts of the case" means. If you are claiming a
Tara Engel111an, R.1V          privilege to any specific documents please provide a privilege log.
I?ebecca Ererilart, R.1\t
                   Case 3:14-cv-01816-SRU Document 38-1 Filed 05/05/16 Page 70 of 71




                                Interrogatory #4: Please provide a privilege log for all documents you claim are
                                protected, or confirm that you have not withheld documents based on the
                                privilege.

J_,au; Offices
                                Interrogatory #6: The date, name and title of any person who visited the Meyer
                                home would not be protected or privileged. Please provide a privilege log for all
350 Fairfield Avenue            documents you claim are protected, or confirm that you have not withheld
Bridgeport, CT 06604
                                documents based on the privilege.
(203) 336-4421
FAX (203) 368-3244              Interrogatory #7: I disagree with your claim of relevance and I do not agree it is
e-1nail: kkb<.?_lkoskoffconi    up to you to decide if other similar litigation might lead to admissible evidence.
1v1ou .koskofj con1
     1

                                Please provide answers to this interrogatory.
Theodore I. Koskojf
    (1913-1989)
                                Interrogatories #10, 11, 12, 13 and 14: We discussed these interrogatories in
Michael P Koskoff               earlier conferences. I changed the phrasing of several interrogatories to
Richard A. Bieder               "reasonably safe for intended purposes" because of the application of that
Joel H. Lichtenstein
Christopher D. Bernard          language to a product liability claim. Additionally, the defendant does not get to
Careu B. Reilly                 choose the most efficient way for my client to conduct discovery. Regarding the
Jarnes D. I!or1uit:::
Jos/z11a D. Koskoff             protective order, Judge Underhill has a standing protective order which would
Regina Jlf. JV!urphy            apply if you make a claim that certain information is protected.
J-1ntonio Ponuert llI
Kathleen L. Nastri              Interrogatory 15: I am entitled to ask you to identify the "person most
William M. Bloss
J Craig Smith                   knowledgeable" for purposes of a 30(b)(6) deposition. I am not looking only for
Sean K. JlfCElligott            the identity of the department handling simple consumer complaints. I am also
Alinor C. Sterling              interested in individuals who would have investigated issues with exploding
Dae id 111. Betnard
Cunthia c. Bott                 canisters and addressed those safety issues.
f{atherine L. Jlfesner-I-fage
                                Interrogatories 16 and 17: We specifically discussed the language in these
Qf Co1111sel
Jcones VVu, LLC                 interrogatories when we attempted to resolve the first set of objections. I disagree
Preston C. Tisdale              with you that this interrogatory is vague and ambiguous. I have already addressed
Paraf('gofa
                                the issue of a protective order.
Linda Grossberg
Ba-rbara Larocca                Interrogatory 19: These terms are not vague or ambiguous. I have addressed
Beth llogler                    the standing protective order above.
Diana V. Orozco
Pat1·icia ill. Harris, R.l\(    Interrogatory 20: I would be stunned if ConAgra was unfamiliar with the terms
JV!arge Esposito
l1Vendy Grosso                  "Pam canisters" and "retail markets."
Diane C. Rivera, R.1\~
Diane L. Zaleiuski              Interrogatory 22: You have cited the Abbott case again. We discussed this the
Terri L. Beatty                 last time we went over your objections. The Abbott case does not support your
Janet E. 111itchell
Julie .11. Robson               position. The Abbott Court found certain requests for admission improper,
Diana C. Coppola                stating: "The defect of this request is plain-plaintiffs have attempted to have the
Ju.lie .11. 11assar
f{aren .Af. Jacobs, R.1V        Government respond to a legal question unconnected to the facts of the case at
 7'ara Engeln1an, R.1V          bar." These interrogatories do not ask you to respond to a legal question and the
 Rebecca Everhart, R.1V
                                facts are most certainly connected to this case.


                                                                         2
                 Case 3:14-cv-01816-SRU Document 38-1 Filed 05/05/16 Page 71 of 71

Koskoff
Koskoff
&                          Interrogatory 25: I disagree with you that these terms are vague and ambiguous,
Bieder               PC    and suggest that you review the court's standing protective order.

                                  I would suggest we hold off on discussing the Request for Production until
                           we attempt to resolve these interrogatories.
Law Offices
                                    We are well behind where we should be in discovery. Therefore, I would
350 Fai1field Avenue
Bridgeport, CT 06604       like to get this resolved quickly. I will file a motion with the court in 10 days if
(203) 336-4421             we have not resolved these issues. Please call me if you wish to discuss this
FAX (203) 368-3244         further.
e-mail: kkb@.koskofj.com
www.koskofj.com

Theodore I. Koskofj                                              Sincerely,
   (1913-1989)
Alichael P Koskofj
Richard A. Bieder
Joel H Lichtenstein
Christopher D. Bernard
Careu B. Reillu
James D. Horwitz                                                 Kathleen L. Nastri
Joshua D. Koskojf
Regina lvf Murphu
                           KLN/mw
Antonio Ponvert m          cc: Eric Kuwana, Esq.
Kathleen L. Nastri
William M. Bloss
                               Mark Opalisky, Esq.
J. Craig Smith                 Jack Mills, Esq.
Sean K. AfCE/l igott
Alinor C. Sterling
Dacid M. Bernard
Cynthia C. Bott
Katheri 11e L. Afesner-Hage

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James Wu, LLC
Preston C. Tisdale
Parnlcgals
Linda Grossberg
BaYbara Larocca
Beth Vogler
Diana V. Orozco
Patricia M. Harris, R.N
Marge Esposito
Wenclu Grosso
Diane C. Rivera, R.N
Diane L. Zalewski
TerTi L. Beatty
Janet E. Mitchell
Julie A. Robson
Diana C. Coppola
Julie A. Vassar
Karen M. Jacobs, R.N
Tara Engelman, R.N
Rebecca E1'erhart, R.N



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